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               EXHIBIT A
                                                                               3 06252021 316893         22 65

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                                                                                                                                                                 :v
                      Supreme Court of Pennsylvania
                                                                                                                                                                        by
                                                                                                                   Jn!
                             Court of Common Pleas                                          ForPrbthdmtary.i.Us^.CSi^
                                                                                                                                      mx-: J d                          M
                                                                                            pocket No:-     .. :
                                 Civil Cover Sheet                                                                  &           m                                 >o,


                                 CHESTER            County                                          f
                                                                                                            2021-04273-MJ ix

              The information collected on this form is used solelyfor court administration purposes. This form does not supplement

              or replace thefiling and service of pleadings or other papers as required by law or rules ofcourt.
r
     . || Commencement of Action

    •Si          Complaint                                Writ of Summons                      Petition

      E          Transfer from Another Jurisdiction                                            Declaration of Taking

     c       Lead Plaintiffs Name:                                                          Lead Defendant's Name:

     T                             DAMON MASSADO                                                           NATIONWIDE CREDIT INC.

      Ilf Are money damages requested?                        Yes         No                Dollar Amount Requested:                     Within arbitration limits

     O                                                                                                  (check one)                      outside arbitration limits

    .N       Is this a Class Action Suit?               Yes   %/ No                         Is this an MDJ Appeal?              Yes       %/ No

             Name of Plaintiff/Appellant's Attorney: fred e davis, iv

    ,A                                    Check here if you have no attorney(are a Self-Represented |Pro Se) Litigant)
                                                                    i :
:              Nature ofthe Case:          Place . 'X
                                                                                                                                 nn
                  mm
                                          : Jfyou arc making more Lhan;Oi^iype of claim, check the oneilhat you consider; most; important:^,'              "
                                                                                                                                                                 'V-
             TORT (do not include Mass Tort)                    CONTRACT^ not include Judgments)                    CIVIL APPEALS
~..
                   Intentional                                            Buyer Plaintiff                                Administrative Agencies

                   Malicious Prosecution                                  Debt Collection: Credit Card                       Board of Assessment

                   Motor Vehicle                                          Debt Collection: Other                             Board of Elections

£                  Nuisance                                               Employment Dispute:                                Dept. of Transportation
    m
                   Premises Liability                                     Discrimination                                     Statutory Appeal: Other
      E
                   Product Liabilityft/oer not include masr               Employment Dispute: Other                          Zoning Board
     C~                                                                                                                      Other:
                   tort)                                                  Other

                   Slander/Libel/Dcfomation

      i            Other

     o       MASS TORT                                          REAL PROPERTY                                       MISCELLANEOUS

     N             Asbestos                                               Ejectment                                          Common Law/Statutory Arbitration

                   Tobacco                                                Eminent Domain/Condemnation                        Declaratory Judgement

                   Toxic Tort - DES                                       Ground Rent                                        Mandamus

      iTVH         Toxic Tort - Implant                                   Landlord-Tenant Dispute                            Non-Domestic Relations
      B
                   Toxic Waste                                            Mortgage Foreclosure: Residential                  Restraining Order
    ;is
                   Other:                                                 Mortgage Foreclosure: Commercial                   Quo Warranto

                                                                          Partition                                          Replevin
             PROFESSIONAL LIABILITY                                       Quiet Title                                        Other:
                   Denial                                                 Other:

                   Legal              .

                   Medical

                   Other Professional

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        Chester Count}'

  Court of Common Pleas Dockct "*'
           Cover Sheet                                      2021-04273-MJ

Plaintiff(s): (Name, Address)                                          Plaintiffs/Appellant's Attorney(circle one)
                       DAMON MASSADO                                   (Name, firm, address, telephone and attorney ID#)

   2610 EAST VENANGO STREET              PHILADEPHIA, PA 19134
                                                                                                    fred e davis, h/
                                                                          (855) 432-8475 davis consumer law firm attorney ID#: 093907

                                                                              2300 Computer Rd Suite G39 Willow Grove, PA 19090

Defendants): (Name, Address)                                           Are there any related cases? Please provide case nos.
                    NATIONWIDE CREDIT INC.

    1000 ABERNATHY RD. SUITE 2C0 ATLANTA, GA 30328

  Defendants who are proceeding without counsel are strongly urged to file with the Prothonotary a written statement of an

                                  address AND a telephone number at which they can be reached

Commencement of Action (if applicable):           Agreement for an Amicable Action              Motion to Confirm Arbitration Award

                                                            Notice of Appeal

   If this is an appeal from a Magisterial District Judgement, was appellant      _ Plaintiff or       _ Defendant in the original action?

                                                Jury Trial Demanded            Yes        No

                        Nature of case if not on previous cover sheet - Please choose the most applicable

    Annulment                                                              Writ of Certiorari

    Custody - Conciliation Required                                        Injunctive Relief

    Custody - Foreign Order                                                Mechanics Lien Claim

    Custody - No Conciliation Required                                     Issuance of Foreign Subpoena

    Divorce - Ancillary Relief Request                                     Name Change

    Divorce - No Ancillary Relief Requested                                Petition for Structured Settlement

    Foreign Divorce


    Foreign Protection from Abuse

    Paternity


    Protection from Abuse


    Standby Guardianship

Arbitration Cases Only                                                 Notice of Trial Listing Date

 Arbitration Date                   2021-12-17                         Pursuant to C.CR.C.P. 249.3, if this case is not subject to
                                                                       compulsory arbitration it will be presumed ready for trial twelve
 Arbitration Time                   09:00:00                           (12) months from the date of the initiation of the suit and will be
                                                                       placed on the trial list one (1) year from the date the suit was
Defendants are cautioned that the scheduling of an arbitration         filled unless otherwise ordered by the Court,
dare does not alter the duty of the defendant to respond to the
complaint and does not prevent summary disposition form
occurring prior to the arbitration date.
This matter will be heard by a Board of Arbitrators at the time        To obtain relief from automatic trial listing a party must proceed
and date specified but, if one or more of the parties is not present   pursuant to C.C.R.C.P. 249.3(b), request an administrative
at the hearing, the matter may be heard at the same time and date      conference and obtain a court order deferring the placement of
before a judge of the court without the absent party or parties.       the case on the trial list until a later date.
There is no right to a trial de novo on appeal from a decision
entered by a judge.

    File with: Chester County Justice Center. Prothonotary Office, 201 W. Market St., Ste. 1425, PO Box 2746, West Chester, PA 19380-0989


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                                                                                      Fib        dtfkt&tdd by
Fred Davis, Esq.                                 ATTORNEY FOR PLAINTIFF
                                                                                       14                         PM
Identification No. 93907                                                                                     o:
DAVIS CONSUMER LAW FIRM                          THIS IS AN ARBITRATION MATTER
2300 Computer Rd.-Ste G39                        ASSESSMENT OF DAMAGES
WILLOW GROVE, PA             19090               HEARING IS REQUESTED.
(T) 1 -855-432-8475/(F) 1 -855-435-9294
fd avis@usacredi11 awycr.c om
DAMON MASSADO                                            COURT OF COMMON PLEAS
2610 E. Venanago St.                                     CHESTER COUNTY
PHILADELPHIA, PA
19134


Plaintiff                                                CIVIL ACTION


v.



NATIONWIDE CREDIT INC.                                   DOCKET NO.:
1000 Abernathy Rd. -Suite 200
ATLANTA, GA
30328


Defendant




                                        NOTICE TO DEFEND
                                             CODE: 1900


 You have been sued in court If you wish to defend against the claims set forth in the following
     pages, you must take action within twenty (20) days after this complaint and notice are served,
     by entering a written appearance personally or by attorney and filing in writing with the court
your defenses or objections to the claims set forth against you. You are warned that if you fail to
do so the case may proceed without you and a judgment may be entered against you by the court
     without further notice for any money claimed in the complaint or for any other claim or relief
     requested by the plaintiff. -You may. lose money or property or other rights important to you.


YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO NOT
       HAVE A LAWYER OR CANNOT AFFORD ONE, GO TO OR TELEPHONE THE
OFFICE SET FORTH BELOW TO FIND OUT WHERE YOU CAN GET LEGAL HELP.


     CHESTER COUNTY BAR ASSOCIATION-LAWYER REFERRAL& INFO SERVICE
                                        Chester Bar Association
                                            15 W Gay St #2,
                                           West Chester, PA
                                                 19380
                                        Phone: (610)692-1889




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                                             AVISO


Le han demandado a usted en la corte.     Si usted quiere defendersc de estas de estas demandas
expuestas an las paginas signientes, usted tiene veinte (20) dias de plazo al partir de ia fecha de
la demanda y ia notificacion. Hace falta asentar una comparencia escrita o en persona o con un
abogado y entregar a la corte en forma escrita sus defensas o sus objeciones a las demandas en
contra de su persona.   Sea avisado que si usted no se defiende, le corte tomara medidas y puede
continuar la demanda en contra suya sin previo aviso o notificacion.       Ademas, la corte puede
decidir a favor del demandante y requiere que usted cumpla con todas las provisiones de esta
demanda.    Usted puede perder dinero o sus propiedades u ostros derechos importantes para
usted.


LLEVE ESTA DEMANDA A UN ABOGADO INMEDIATAMENTE, SI NO TIENE
ABOGADO O SI NO TIENE EL DINERO SUFICIENTE DE PAGAR TAL SERVICIO.
VAYA       EN   PERSONA      O   LLAME       POR      TELEFONO         A   LA   OFICINA    CUYA
DIRECCION SE ENCUENTRA ESCRITA ABAJO PARA AVERIGUAR DONDE SE
PUEDE CONSEGUIR ASISTENCIA LEGAL.


                            SERVICIO DE REFERENCIA LEGAL
                                 Colegio de Abogados de Chester
                                         15 W Gay St W2t
                                        West Chester, PA
                                              19380
                                     Phone: (610) 692-1889




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                                              AVISO


Le ban demandado a ustcd en la corte.      Si usted quiere defenderse de estas de estas demandas
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demanda.    Usted puede perder dinero o sus propicdades u ostros derechos importantes para
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LLEVE ESTA DEMANDA A UN ABOGADO INMEDIATAMENTE, SI NO TIENE
ABOGADO O SI NO TIENE EL DINERO SUFICIENTE DE PAGAR TAL SERVICIO.
VAYA       EN   PERSONA      O     LLAME     POR       TELEFONO         A   LA   QFICINA   CUYA
DIRECCION SE ENCUENTRA ESCRITA ABAJO PARA AVERIGUAR DONDE SE
PUEDE CONSEGUIR ASISTENCIA LEGAL.


                           SERVICIO DE REFERENCIA LEGAL
                                  Colegio de Abogados de Chester
                                          15 W Gay St #2,
                                         West Chester, PA
                                               19380
                                      Phone: (610) 692-1889




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                                                                                     Filfaatid^tS&tdd by
Fred Davis, Esq.                               ATTORNEY FOR PLAINTIFF                                y.
                                                                                      14                  PM
Identification No. 93907
DAVIS CONSUMER LAW FIRM                        THIS IS AN ARBITRATION MATTER
2300 Computer Rd.-Ste G39                      ASSESSMENT OF DAMAGES
WILLOW GROVE, PA           19090.              HEARING IS REQUESTED.
(T) I -855-432-8475/(F) 1 -855-435-9294
fdavis@.usacreditlawver.com
DAMON MASSADO                                        COURT OF COMMON PLEAS
2610 E. Venanago St.                                 CHESTER COUNTY
PHILADELPHIA, PA
19134


Plaintiff                                            CIVIL ACTION


v.



NATIONWIDE CREDIT INC.                               DOCKET NO.:
1 000 Abernathy Rd.-Suite 200
ATLANTA, GA
30328




Defendant



                                          COMPLAINT


                1.     Plaintiff, DAMON MASSADO, is an adult individual citizen


and legal resident of the Slate of Pennsylvania, living at 2610 E. Venanago St., Philadelphia, PA,


19134.


                2.     Defendant, NATIONWIDE CREDIT INC., is a business


corporation qualified to and regularly conducting business in, the Commonwealth of


Pennsylvania, with its legal residence and principal place of business at 1000 Abernathy Rd.-


Suite 200, ATLANTA, GA 30328. Defendant can be served at that address.


                3.     Plaintiff avers that at all times material hereto. Defendant acted by


and through its authorized agents, servants, officers, and/or employees, including Defendant, all


of whom were acting within the scope of their employment.




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                                  JURISDICTION AND VENUE

                  4.     Jurisdiction of this court arises pursuant to 1 5 U.S.C. § 1 692k(d),

which states that such actions may be brought and heard before "any appropriate United States

district court without regard to the amount in controversy, or in any other court of competent


jurisdiction".

                  5.     Defendant regularly conducts business in the State of            <

Pennsylvania and in the County of Chester, therefore, personal jurisdiction is established.

                  6.     Venue is proper in Chester County pursuant to Pennsylvania


Rule(s) of Civil Procedure §§ 1 006 and 2179.

                  7.     Declaratory relief is available pursuant to 28 U.S.C. §§ 2201 and


2202.
                                                  PARTIES

                  8.     Plaintiff is a natural person residing in Philadelphia, PA. Some/all of the

transactions comprising the alleged debt occurred in Chester County.


                  9.     Plaintiff is a "consumer" as that term is defined by 15 U.S.C. §


1 692a(3). The transactions comprising the alleged debt were for consumer related purchases,

such as household hoods, food, clothing, etc.


                  10.    Defendant, NATIONWIDE CREDIT INC., is a company handling debt


collection matters with headquarters located at 1000 Abernathy Rd.-Suite 200, ATLANTA, GA

30328.

                  1 1.   Defendant is a debt collector as that term is defined by 1 5 U.S.C.

§ I692a(6), and sought to collect a consumer debt from Plaintiff, as the alleged debt in questions

stems from the acquisition of personal goods and sendees, such as household items, clothing,

groceries, etc.



                  12.    Defendant   acted   through   its   agents,   employees,   officers,   members,

directors, heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and




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insurers.

                                           FACTUAL ALLEGATIONS


                  1 3.      Throughout the past year, Defendant has contacted Plaintiff attempting to


collect a debt that Defendant alleges originated with "JP MORGAN CHASE BANK, N.A.", in


the amount of $4, 8 07. 67.


                  14.       Plaintiff alleges and avers that Defendant caused Plaintiffs phone to ring


and contacted Plaintiff at irregular times and places, and often times hung up before identifying


itself, only to call right back, in violation of 1 5 U.S.C. §§ 1692c(a)( 1) and d(5).


                  1 5.      Plaintiff alleges and avers that there is no agreement between Plaintiff and


JP MORGAN CHASE BANK, N.A. allowing for the collection of any account by a third-party,


and Defendant thereby violated 15 U.S.C. §§§§§ e(2), (8), (10) and f(2) and (6).


                  16.       Plaintiff alleges and avers that Defendant's professed right to veto the


"settlement offer" is hopelessly confusing because no written agreement has been sent to


Plaintiff,    and Defendant thus misrepresented the character, source and nature of the alleged


debt, in violation of §§§15 U.S.C. §1692e(2), (10) and f(l).


                  17.       Plaintiff alleges and avers that Defendant failed to inform Plaintiff of his


rights, in violation of 15 U.S.C. §§§§ 1 692g, e(2), (5), and (10).


                  18.       Plaintiff alleges and avers Defendant fails to inform Plaintiff of the credit


reporting or tax         assessment consequences of paying all       or part of the alleged debt, and


Defendant thereby violated of 15 U.S.C. §§§ 1692e(2), (5) and (10).


                  19.       Plaintiff alleges and avers that despite Defendant has not timely updated


Plaintiffs credit reports to reflect the fact of dispute, in violation of §§15 U.S.C. §l692e(8) and


f(l).




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                 20.        Plaintiff alleges and avers that Defendant viewed nor possessed any


credible documentary evidence of a written agreement between Plaintiff and JP MORGAN


CHASE BANK, N.A. or any original account statements, showing accumulation of the alleged


debt, yet sought to collect it anyway. Defendant thus violated of §§§ 1 5 U.S.C. §1692e(2), (5)


and f(l).


                 21.        Plaintiff alleges and avers that Defendant's threat to void the agreement


if Plaintiff doesn't pay within 14 days is an attempt to force Plaintiff to waive his rights to


dispute the alleged debt, and Defendant thereby violated 15 U.S.C. §§§§§1692g, e(2), (10), (5)


and f(l).


                 22.        Plaintiff alleges and avers that Defendant's claim that $4, 807.67 is owed

is bogus because this amount is largely comprised of illegal fees and interest (which Defendant


has no right to collect) and Defendant thereby violated 15 U.S.C. §§§§1692 e(2), (5), (10) and


f(D-


                                           .       COUNT I
               THE FAIR DEBT COLLECTION PRACTICES ACT f'FDCPA")

                 23.        In its actions to collect a disputed debt, Defendant violated the

FDCPA in one or more of the following ways:

                       a.     Harassing, oppressing or abusing Plaintiff in connection with the

collection of a debt in violation of 15 U.S.C. § 1692d.

                       b.     Using misrepresentations or deceptive means to collect a debt in

violation of 15 U.S.C. § 1692e(10).


                       c.     Using unfair or unconscionable means to collect a debt in

violation of 1 5 U.S.C. § 1 692f.


                       d.     By acting in an otherwise deceptive, unfair and unconscionable




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manner and failing to comply with the FDCPA.


         WHEREFORE, Plaintiff, DAMON MASSADO, respectfully prays for a judgment as


follows:


                         a.     All actual compensatory damages suffered pursuant to 15


U.S.C. § 1692k(a)(l);

                         b.     Statutory damages of S 1 ,000.00 for each violation of the


FDCPA pursuant to 15 U.S.C. § 1692k(a)(2)(A);


                         c.     All reasonable attorneys' fees, witness fees, court costs and


other litigation costs incurred by Plaintiff pursuant to 15 U.S.C. § 1693k(a)(3); and


                         d.     Any other relief deemed appropriate by this Honorable


Court.


                                              COUNT 11
     THE PENNSYLVANIA UNFAIR TRADE PRACTICES ACT AND CONSUMER
                                 PROTECTION LAW ("UFTPL")


                24.      Plaintiff hereby incorporates all facts and allegations specified in


paragraphs above, by reference as if fully set forth at length.


                25.      Plaintiff is a "Person" as defined by 73 P.S. § 201-2(2).


                26.      Defendant is a "Person(s)" as defined by 73 P.S. § 201-2(2).


                27.      The Pennsylvania Unfair Trade Practices and Consumer


Protection Act, 73 P.S. § 201-2(4), defines "unfair or deceptive acts or practices" to


include the following:


                (a) Causing likelihood of confusion or of misunderstanding as to the

source, sponsorship, approval or certification of goods or services;


                (b) Causing likelihood of confusion or of misunderstanding as to




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affiliation, connection or association with, or certification by, another;


               (c) Engaging in any other fraudulent or deceptive conduct


which creates a likelihood of confusion or of misunderstanding;


               (d) Any violation of 73 Pa. Cons. Stat. Ann. § 2270.


               28.     Plaintiff alleges and avers that Defendant violated the Act by


misrepresenting that any debt was owed and further attempting to lure Plaintiff into extending


the statute of limitations, and that Defendant's conduct complained of herein paragraphs


amounts to violations of the Fair Credit Uniformity Extension Act, 73 Pa. C.S. § 2270. el seq.

and is thus a concomitant violation of the Unfair Trade Practices Act.

               29.     Plaintiff alleges and avers that Defendant violated the Act by

misrepresenting that validity of the alleged debt, the identity of the actual creditors, if any, and


the legitimacy of the alleged debt.


               30.     Plaintiff further alleges and avers that Defendant's misleading reference


to account and reference numbers,, misreporting of credit information and misrepresentations


surrounding the alleged debt was done to confuse and deceive Plaintiff into thinking the debt was


legitimate, and Defendant thereby violated the Act.


               31.     The UTPCPL authorizes the Court, in its discretion, to award up to


three (3) times the actual damages sustained for violations, and/or $100.00 for statutory damages.


Plaintiff avers entitlement to all actual and statutory damages, plus treble that amount, and

attorney fees and costs, for Defendant's per se and statutory violations of Pennsylvania Law.




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                                        COUNT III
                 INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS



                 32.   Plaintiff hereby incorporates the preceding paragraphs by


reference as through fully set forth.


                 33.   Plaintiff alleges and avers that Defendant's conduct was extreme


and outrageous, in that it maliciously employed intimidation and harassment, in the form of


misleading and abusive collection tactics aimed at perpetually and unfairly and depriving


Plaintiff of money and his rights to be free from harassment.


                 34.   Plaintiff alleges and avers that Defendant's conduct was


undertaken with the intent of causing, or with reckless disregard for the probability of causing,


emotional distress to Plaintiff.


                 35.   Plaintiff alleges and avers that as a direct an proximate result of


Defendant's conduct, Plaintiff suffered severe and extreme emotional distress which includes,


but is not limited to, harassment inflicted by Defendant's deliberate and vexatious collection


efforts.


           WHEREFORE, Plaintiff, DAMON MASSADO, respectfully prays for a judgment as


follows:


                 a.    All actual, punitive and compensatory damages suffered . _ .


                 b.    All reasonable attorneys' fees, witness fees, court costs and


other litigation costs incurred by Plaintiff; and any other relief deemed appropriate by this


Honorable Court.




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                                            COUNT IV
                                   INVASION OF PRIVACY
                                     (HEREAFTER "lOP")


               36.     Defendant intentionally intruded upon Plaintiffs solitude,


seclusion or private affairs and concerns. Defendant's intrusion would be highly offensive to a


reasonable person and was unwarranted and unjustified.


               37.     Specifically, Defendant filed suit against Plaintiff attempting to


collect a bogus debt, misreporting credit information and trying to collect money which


Defendant had no right to collect, the purpose of which was to further annoy and harass Plaintiff.


               38.     Defendant invaded Plaintiffs privacy, with the purpose of


harassing Plaintiff into paying a bogus debt. As a result, Plaintiff suffered injury as a proximate


cause of such the intrusion.


                                              COUNT V
                                           DAMAGES


               39.     Plaintiff respectfully requests the following damages to be


considered separately and individually for the purpose of determining the sum of money that will


fairly and reasonably compensate Plaintiff:


               a. All statutory, compensatory and economic damages;


               b. Mental anguish suffered by Plaintiff, for the past and future;


                c. All reasonable expenses incurred by Plaintiff, including court costs


and all reasonable and necessary attorney fees; and


               d. Pre-judgment and post-judgment interest.


               40.     ' Defendant's malicious conduct, when viewed from the




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  standpoint of the actor at the time of the occurrence, involved an extreme degree of risk,


  considering the probability and magnitude of the potential harm to others. Furthermore,


  Defendant's conduct was willful, intentional and malicious. Defendant's conduct illustrates not


  only an attitude of conscious indifference for the rights, safety and welfare of others, but also


s shows Defendant's actual and subjective awareness of the dangers of such conduct.


                 4 1.    Nevertheless, Defendant proceeded intentionally or with a


  conscious indifference to the rights, safety or welfare of others, including Plaintiff. Therefore,


  Defendant is liable for exemplary/punitive damages. As punishment for Defendant's actions and

  to deter such actions in the future, Plaintiff is requesting exemplary/punitive damages.




                                 DAVIS CONSUMER LAW FIRM


                          By:    Fred Davis-PA ID# 93907
                                 Attorney for Plaintiff, DAMON MASSADO
                                 2300 Computer Rd.-Ste G39
                                 Willow Grove, Pa     19090
                                 Tel - 1 -855-432-8475/Facsimile- 1 -855-435-9294
                                 Email: fdavis@usacreditlawver.com




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r                                    V E R I F I C A T I O N


           Fred Davis, states that he is the attorney for the Plaintiff herein; that he is acquainted with


    the facts set forth in the foregoing Complaint; that.same are true and correct to the best of his


    knowledge, information and belief; and that this statement is made subject to the Penalties of 18


    Pa. C.S.A. §4904, relating to unsworn falsifications to authorities.




                                   DAVIS CONSUMER LAW FIRM



                            By:    Fred Davis-PA ID# 93907
                                   Attorney for Plaintiff, DAMON MASS ADO
                                   2300 Computer Rd.-Ste G39
                                   Willow Grove, Pa     19090
                                   Tel - 1-855-432-8475/Facsimile-l -855-435-9294
                                   Email: fdavis@usacreditlawver.com




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